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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    PROLITEC INC.,

                    Plaintiff/Counterclaim-
                    Defendant,
                                                              C.A. No. 20-984-WCB
               v.

    SCENTAIR TECHNOLOGIES, LLC,

                    Defendant/Counterclaim-
                    Plaintiff.



                        STIPULATION AND ORDER TO EXTEND TIME

           WHEREAS, on July 30, 2024, the Court issued a revised Scheduling Order (D.I. 351)

  setting a deadline for case dispositive motions for October 22, 2024;

           WHEREAS, on September 24, 2024, the Court entered an Order (D.I. 364) extending the

  deadline for expert discovery to October 10, 2024;

           WHEREAS, on August 13, 2024, Prolitec submitted the Reply Expert Report of Cory

  Plock, its technical expert;

           WHEREAS, on September 9, 2024, ScentAir submitted a Letter Brief moving to strike

  portions of the Reply Expert Report of Cory Plock (D.I. 354);

           WHEREAS, the parties agreed that it would be most efficient to conduct depositions of

  their respective technical experts after the Court ruled on ScentAir's Letter Brief;

           WHEREAS, on October 2, 2024, the Court issued an Order granting in part and denying

  in part ScentAir's Letter Brief (D.I. 371);




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           WHEREAS, the parties have agreed to conduct the depositions of their respective technical

  experts on October 10, 2024, and October 30, 2024;

           THEREFORE, IT IS HEREBY STIPULATED, by the parties, and subject to the Court’s

  approval, that the deadline for completion of expert discovery is extended to and including October

  30, 2024; and

           IT IS FURTHER STIPULATED, by the parties, and subject to the Court's approval, that

  the deadline for case dispositive motions is extended to and including November 5, 2024.


  Date: October 10, 2024


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  IT IS SO ORDERED this 10th day of October, 2024.


                                                 ____________________________________
                                                 The Hon. William C. Bryson
                                                 United States District Judge, by designation




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